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                                                                                                                         VMware Agreement # 00557143
                                                                        ORDER INFORMATION

                                                                                              Offerings         Offerings may include VMware software,
                                                                                                                           s ELA
1.      Software and Support Services Terms.                                         Master Software License and Services Agreement
(VMware Agreement No. 101299) as amended by Amendment No.1 (VMware Agreement No. 00583876                                         .
                                                              terms as per the MSLA.
     a)      Deployment Rights.
     if the Software has been installed and Customer has entered a license key, if necessary, to run the Software. Except for any Software licensed
     on a subscription basis, Customer shall have perpetual licenses to use the Software that it has deployed, subject to the terms of this ELA. For
     subscription Software, Customer may only use the subscription Software for ELA Period, unless Customer continues to pay the applicable renewal
     fees.
     b)      Software Delivery.
     for download and emailing the corresponding license key(s); (b) making the Software available for download in a fashion that does not require a
     license key; or (c) shipping the Software on physical media and emailing the corresponding license key(s). All Software shall be deemed delivered
     and accepted upon VMware (i) making the Software available for download without the requirement of a license key or (ii) emailing the
     corresponding license key(s) to Customer. If the Software will be delivered on physical media, shipping and delivery terms are Ex Works VMware's
     regional fulfillment facility (INCOTERMS 2020).
     c)      Reporting. Within thirty (30) days following expiration of the ELA Period, Customer shall report to VMware the total number of Software
     licenses Customer deployed as of the ELA Period Expiration Date. Customer shall also provide VMware with any other information reasonably
     requested by VMw                                                                                                                              -mail to
     mailto:LicenseAdvisory@vmware.com, or as otherwise specified by VMware in writing. If Customer fails to meet the reporting requirements in this
     Section, VMware shall set an additional period of time of at least 10 days. If this additional period has elapsed and Customer still does not meet
     the reporting requirements, VMware itself, or a reputable, internationally recognized, independent third party auditor appointed by VMware, who
     is bound to strict confidentiality under the rules of their profession or by contract and bound to the applicable data protection requirements may
                                nce with the terms of this ELA. In case the audit reveals that Customer has violated its contractual obligations, Customer
     shall bear the costs of the audit, otherwise VMware shall bear the costs.
2.         Training and Consulting Credits.                             ning and consulting credits is subject to the terms agreed under the Master
Service Agreement, Agreement No. 00583877                Customer may allow its Affiliates and Carved Out Units (both as defined in the MSA) to use
the training and consulting credits, provided that the services redeemed with such training and consulting credits shall be subject to the VMware
Professional Services General Terms and Conditions available at https://www.vmware.com/content/dam/digitalmarketing/vmware/en/pdf/professional-
services/vmware-general-terms-and-conditions-professional-services.pdf , unless such Affiliates or Carved Out Units have entered into a respective
Participation Agreement as set forth in the MSA. For the avoidance of doubt, the use of training and consulting credits by Customer and its Affiliates
and Carved Out Units may not exceed the total amount of training and consulting credits purchased in this ELA.
3.   Hybrid Purchasing Program.

     3.1 HPP Fund A
                                                                                                                          A
Schedule as HPP Fund A. Customer may redeem the HPP Fund A Balance by accessing My VMware located at
https://my.vmware.com/web/vmware/login. The entire HPP Fund Balance will be deemed delivered and accepted when VMware makes the HPP Fund
A Balance available to Customer in My VMware. Any portion of the HPP Fund A Balance that is not redeemed before the termination of the ELA Period
will expire, and Customer will not be entitled to a refund for any unused HPP Fund A Balance. For the avoidance of doubt, the Customer can redeem
the HPP Fund A Balance during the ELA Period including the last day of the ELA Period, which has been defined as 3 years from the Effective Date.
For the avoidance of doubt, the HPP Fund A shall be co-termed to the ELA expiration date of this ELA. Any Eligible HPP Product (as that term is used
in the HPP Guide) that Customer redeems from the HPP Fund A
may only be used in the Territory as defined in the MSLA. The allocation of the HPP Fund A Balance to Eligible HPP Products and Eligible HPP
Services is as set forth on the ELA Schedule. Customer shall not change the initial allocation percentages. For the purposes of this ELA, such allocation
shall be 100% Perpetual.                                                             A Balance is subject to the HPP Guide posted at
http://www.vmware.com/files/pdf/solutions/vmware-hpp-program-guide.pdf, unless otherwise stated in this ELA.                                 Redeemed
Software is subject to the terms of the MSLA and this ELA                                                           the terms of the MSLA and the ELA.



Quote # Q-E00190573 & Q-E00193010 & Q-E00193044 & Q855054                                                                            2          VMware
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                                                                                                                            VMware Agreement # 00557143
(e.g. subscription licenses); and (ii) the foregoing discounts are in lieu of, and may not be combined with, any other discounts received from VMware,
either contractually or through any other promotions.
13. Affiliates. As set forth in the MSLA.


14. Divestiture Rights. For Software obtained by Customer (i.e. Siemens AG) under this ELA and for the Pre-ELA Installed Software as set forth
under section I.D.3 of the ELA Schedule attached as Annex A and except for Software purchased in an unlimited amount , notwithstanding any other
term in this ELA, in the event that Customer divests a portion of its business or an entity which was an Affiliate (as defined in this ELA) and for whose
benefit Customer was using the Software or which Affiliate was using the Software, respective
Customer may continue to use the Software for the benefit of that Divested Entity or may allow Divested Entity to continue to use the Software,
respectively, pursuant to the terms of this ELA and the following additional terms:

               1.   Customer is receiving Services pursuant to the terms of this ELA as of the date of the divestiture;

               2.   That use is subject to and conditioned upon Customer to report to VMware no later than the last business day before the
                    divestiture:

                          a.   the legal entity name of the Divested Entity after the divestiture;

                          b.   ownership, voting or similar interest of the new parent company (if any) of Divested Entity after the divestiture;

                          c.   the total number of Software licenses deployed by Customer for the benefit of Divested Entity and by Divested Entity
                               itself as of the date of divestiture. That report shall be provided via e-mail to LicenseCompliance@vmware.com, or as
                               otherwise specified by VMware in writing.

               3.   That use must be to process only that business and data which had previously been processed for the benefit of that Divested
                    Entity by Customer or by that Divested Entity, respectively, in the ordinary course immediately prior to that divestiture, or which
                                                                                                                                                   ry
                    business activities. No business of the new parent or any of its subsidiaries or affiliates may be processed using the Software
                    without the prior written permission of VMware, and without payment of an additional fee;

               4.   That use shall be at no additional charge for the Divestiture Period (as defined below). Any use beyond that period shall be at
                    fees to be mutually agreed to by the parties;

               5.   All Services shall be provided to the Divested Entity through Customer. VMware shall have no obligation to respond directly to
                    any calls or requests made by the Divested Entity;

               6.   Under no circumstances shall Customer continue to process the business or data of the Divested Entity for any period of time
                                                                                                                                              re.

               7.   Customer shall provide VMware a confirmation once Customer has ceased the use of Software for the benefit of Divested Entity
                    and Divested Entity has ceased use of the Software. That confirmation shall be provided via e-mail to
                    LicenseCompliance@vmware.com, or as otherwise specified by VMware in writing.

                                                                                                                                                    s License
          Assignment and Transfer (LATF) process as set forth at http://www.vmware.com/support/policies/licensingpolicies.html, hereby completing
          and submitting to VMware the VMware LATF form, Customer may transfer to Divested Entity the Software licenses used by or for the
          Divested Entity. Subject to and conditioned upon fulfillment of the requirements set forth in the remainder of this Divestiture section no
          additional consent of VMware shall be required under the LATF process for those transfers. In connection with the Services paid by Customer
          in connection with the ELA, the Services for the licenses deployed by the Divested Entity as of the Divestiture Date shall transfer with the
          licenses transferred to the Divested Entity. Unless explicitly agreed otherwise with VMware, upon transfer the Divested Entit y
                                                                                                                  www.vmware.com/download/eula , except
          that the Territory and Affiliate usage rights set forth in the ELA will continue to apply, provided that only those entities that meet the definition
          of Affiliate of the Divested Entity prior and after the Divestiture will constitute Affiliates.



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                                                                                                                    VMware Agreement # 00557143
15. ELA Renewal. Customer shall have the right to enter into a new ELA Agreement with VMware at the time of expiration of this ELA. Any terms
    and conditions including commercial terms of such new ELA shall be agreed upon by the parties at the time of signing the new ELA. For the
    avoidance of doubt, Customer may enter into a new ELA agreement prior to the expiration of this ELA.
16. Use of VMware Programs. In case that VMware will introduce new programs that address the conversion of perpetual licenses into SaaS/Cloud
    offerings, Siemens can avail of these programs if available and subject to the terms of such programs.

17. Order. Customer shall pay invoices issued by VMware under this ELA within ninety (90) days of the date of the invoice. Customer understands
    that VMware typically requires a purchase order to serve as a binding promise of payment and to ensure the correct billing address, shipping
    address, and tax status. However, VMware will issue an invoice to Customer for the fees specified under this ELA, upon delivery of the License
    Keys or Services to Customer. In lieu of Customer issuing a purchase order to VMware for the Software and Services fees under this ELA,
    Customer acknowledges that this ELA, upon signature by Customer, represents a binding obligation on the part of Customer to pay all undisputed
    invoices under the ELA. Customer represents that an employee of Customer who has the authority to commit Customer funds has executed this
    ELA. Should Customer decide to issue a PO, it will be for informational purposes only. VMware shall send invoices and ship License Key(s) to
    Customer at the following address:

         Billing Address:
                             ARE 7092

         Customer Name:      Siemens AG

         Contact:

         Address:            Postfach 10 02 40

         City/State/Zip Code:Bamberg, DE-96054, Deutschland

         E-mail:

         Accounts Payable Manager

         AP Manager Name:_
         AP Manager email or phone:_
         The software license key(s) shall be shipped to:
         Customer Name:      Siemens AG
         Contact:
         Address:            Freyeslebenstr. 1
         City/State/Zip Code:_Erlangen, , 91058
         E-mail:


         All charges and fees provided for in this ELA shall be remitted in EUR and are exclusive of any taxes, duties, or similar charges imposed by
         any government or other authority as specified in the MSLA under section 4.3 Taxes.




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                                                              Amendment No.1 to the
                                         Master Software License and Services Agreement
 This Amendment No. 1 ( Amendment ) to the Master Software License and Services Agreement identified below ( MSLA ) is between Customer (as
 identified below) and VMware International Unlimited Company (formerly known as VMware International Limited), located at Parnell House, Barrack
 Square, Ballincollig, County Cork, Ireland (              ), as well as VMware, Inc., located at 3401 Hillview Avenue, Palo Alto, CA 94304
      ); VIC and VMware, Inc. hereinafter retrospectively as the case may be referred to as VMware ; Customer, VIC and VMware, Inc. hereinafter
 referred to i                                               . Capitalized terms not otherwise defined herein shall have the same meaning ascribed to
 those terms in the MSLA.

    Customer Name: Siemens AG                                                    Customer Address: Otto Hahn Ring 6, Munich, 81739, Germany

    MSLA: Master Software License and Services Agreement effective as of November 28, 2012, VMware Contract # 101299



    Amendment Effective Date:
    (if blank, then the Amendment Effective Date is the last indicated date
    of execution)



 WHEREAS, Customer and VMware have entered into the MSLA in 2012;
 WHEREAS, the parties wish to update and amend the MSLA as described herein;


 NOW THEREFORE, the parties agree as follows:
      1)    Exhibit A of the MSLA shall hereby be deleted and replaced with Annex A to this Amendment (Service Terms).

      2)    Exhibit D of the MSLA shall be deleted and replaced with Annex D to this Amendment (                                        ).

      3)    Section 10 of the MSLA shall be deleted and replaced with the following:
             10. Corporate Responsibility in the Supply Chain
            VMware shall comply with the principles and requirements of the 'Code of Conduct for Siemens Suppliers and Third Party Intermediaries'
            attached hereto as Annex E to this Amendment (hereinafter referred to as the 'Siemens Code of Conduct').


     4)    The following clause shall be added to sec. 9.9. of the MSLA:

             9.9.5 In the event that a member of the VMware executive committee is listed as a person on the U.S. Commerce Department Denied
            Persons List or Entity List, or any similar designated persons list published for the jurisdiction of the territory of the Purchase Order or ELA
                                                                                                                                                   iment has
            been lifted, unless Customer was aware or should have been aware of said Impediment at the time of submission of the Purchase Order.
                                                                                                                                                     y inform
            Customer about an alternative payment method, including but not limited to a different bank account that is not subject to such Impediment.
            VMware will issue an updated invoice, and Customer shall promptly pay the fees stated on such invoice, within the original payment term as
            referred to in the previous invoice, which will otherwise be deemed null and void.


            9.9.6 For the provision of work and services under the MSLA, VMware shall only use employees who are not listed in the relevant German,
            European and U.S.-American sanctions lists based on foreign trade legislation.
            These lists include, but are not limited to, the U.S. Denied Persons List (DPL), the U.S. Unverified List, the U.S. Entity List, the U.S. Specially
            Designated Nationals List, the U.S. Specially Designated Terrorists List, the U.S. Foreign Terrorist Organizations List, the U.S. Specially
            Designated Global Terrorists List and the EU's Terrorist List.




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    5)   The following clause shall be added to the MSLA:

         Cybersecurity

         1. When fulfilling its obligations under the MSLA, VMware shall comply with Annex F to this Amendment (Siemens Cybersecurity Rules for
              Third Parties). VMware warrants that, to its knowledge, no portion of the Software contains, at the time of delivery, any "back door,"
              "time bomb," "Trojan horse," "worm," "drop dead device," "virus" or other computer software routines or hardware components designed
                                                                                                                                   t authorized by the
                                                                                                                                              following
              shall not be deemed Disabling Code: (1) a feature through the user interface that permits a user to
              a browser over the Internet to access the support and subscription services or to register the Software, or (2) serial number s that de-
              activate evaluation copies of the Software after a period of time, making the Software unusable, or (3) code which limits the number of
              processors upon which the Software will operate, the number of concurrent Virtual Machines executing, or code which limits any specific
              Virtual Machine to a given number of virtual processors. VMware Software and Support Services are developed in line with industry
              best standards and a state-of-the-art software and security development life cycle program.

         2. IT Security and Quality Management
                      a. VMware has established, implemented and applies the measures set out in Annex F, or, to the extent specific measures are
                           not set out in Annex F, appropriate and state of the art organizational and technical measures, to ensure the availability,
                           integrity, authenticity and confidentiality of its Information Systems, information system components or processes and
                           Customer data submitted to or collected by VMware under this Agreement and VMware shall commit its personnel and
                           approved sub-contractors to align with industry standard ISO 20000 and ISO 27000 series and further technical standards
                           according to applicability.

                    b.    VMware shall ensure the compliance with the security and quality management requirements stipulated in Section
                          Cybersecurity 2.a. during the Term, including all communication and collaboration between VMware and Customer within
                          the scope of the MSLA.
                          IT systems in presence of Customer personnel (e.g. during Webex sessions) or performs services at the premises of the

                          policies. In so far as VMware in performance of its obligations
                          or performs services at the premises of the Customer on an exceptional basis without Customer personnel being present,
                                                                                                           all apply.

                    c.    VMware has established, implemented and applies the standards, processes and methods set out in Annex F, and to the
                          extent specific standards, processes and methods are not set out in Annex F, state of the art standards, processes and
                          methods, to prevent, identify, evaluate and remediate Vulnerabilities, Malicious Code and Security Incidents in the Software
                          (                    means a confirmed breach of security of the Services leading to the accidental or unlawful destruction,
                          loss, alteration, unauthorized disclosure of, or access to Customers data).

                    d.    VMware shall continue to support and provide services to repair, update, upgrade and maintain the Software for the period
                          and at the Support Level which Customer has purchased in line with Annex A and the
                          which can be accessed under https://www.vmware.com/support/lifecycle-policies.html#glance. In addition, VMware
                          provides remediation for security Vulnerabilities at https://www.vmware.com/security/advisories.html

                    e.    VMware shall itself regularly perform or have performed by third parties state of the art vulnerability assessments, including
                          but not limited to source code reviews and penetration tests (i) before delivery, on the Software and (ii), at least monthly
                          vulnerability scans on the Information Systems, components or processes of Information Systems used for the development
                          and delivery of the Software or Information Systems hosting or processing Confidential Information and (iii), penetration
                          tests at least annually or in the event of a material change on the Information Systems, components or processes of
                          Information Systems used for the development and delivery of the Software or Information Systems hosting or processing
                          Confidential Information.

                          VMware shall adequately document the technical scope and the findings of such vulnerability assessment.

                          VMware shall at least annually, engage, at its expense, a third-party service provider to perform penetration testing of
                                                                                                                                                ry

                          VMware shall provide evidence of such testing.




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                 Customer shall have the right, but not the obligation, to test the Software implemente

                 Vulnerabilities, provided that such tests and any potential findings are protected by Customer as Confidential Information in
                 line with section 9.14 of the Agreement and Customer also ensures that any third party complies with obligations of
                 confidentiality as least as restrictive as those set forth in section 9.14 of the Agreement with regard to the tests and potential

                 Customer shall inform VMware of any findings made in such tests (if any) and VMware shall address such findings in line
                 wit                                     The Customer or its Third Party will bear all costs for any and all tests carried out
                 by or on behalf of Customer. Any test carried out by Customer does not restrict the obligations of VMware under this
                 Agreement.
            f.   All known Vulnerabilities and Malicious Code discovered in            Information Systems, components or processes of
                  information systems used for the development and delivery of the Software and for Information System hosting or
                  processing Confidential Information shall be remediated by Vmware within a reasonable timeframe in each case taken into
                  account the severity of such defects.

                  Vulnerabilities in the Software and respective fixes
                  https://www.vmware.com/security/advisories.html and sent to subscribers of the VMware Security Announce mailing list
                  (subscription through aforementioned website). VMware shall, upon becoming aware of a Security Incident, and in any
                  event no later than 72 hours upon becoming aware of such security incident, inform Customer and fully cooperate with
                  Customer concerning any legally required notifications or disclosures to affected persons and/ or government authorities
                  with each party bearing its own costs.
            g.                                                                                              high confidence to be a result of a
                  vulnerability in VMware Software and where no fix or advisory has been made available (as describe under section f) ,
                  Customer         will     notify     VMware        via      the       vulnerability  reporting     mechanism        provided
                  at https://www.vmware.com/support/policies/security response.html . VMware shall provide reasonable cooperation to
                  ascertain the effect of the vulnerability, and where a vulnerability in VMware Software has been confirmed provide guidance
                  or a remedy, either directly or via an advisory (as described under section f).


            h.   The contact at VMware for Customer for all security related issues is:

                 security@vmware.com or as otherwise notified on https://www.vmware.com/support/policies/security_response.html

                 The contact at Customer for all security related issues can be found at
                 http://www.siemens.com/cert/advisories.

            i.   VMware (or third parties engaged by VMware) audits its compliance against data protection and information security
                 standards on a regular basis. The specific audits, and the data protection and information security certifications VMware has
                 achieved, will necessarily vary depending upon the nature of the Services in question. Upon Customer's written request,
                 once every twelve (12) months, and subject to obligations of confidentiality, VMware will make available to Customer a
                 summary of its most recent relevant audit report and/or other documentation reasonably required by Customer which
                 VMware makes generally available to its customers, so that Customer can verify VMware's compliance with the DPA (as
                 attached as Annex B).
                 VMware upon request will provide Customer an attestation of the information security policies within the company once
                 every twelve (12) months during the term of the Agreement, to confirm the operation of an Information Security Management
                                                     VMware to share the at
                 attestation of information security practices is
                 be shared with any third parties. The attestation will not be valid past the year for which it is provided, and Customer shall
                 destroy all copies on completion of the term and assure VMware of the

                 If the above does not reasonably satisfy the Customer s compliance requirements, then upon
                 written request, no more frequently than once every twelve (12) months during the term of the Agreement, VMware will
                 review and complete relevant provisions of a security questionnaire provided by Customer (an example has been provided
                 to VMware by email on 29th                                                                                   ) to the extent
                 directly related to the Agreement in order to verify that VMware is in compliance with its obligations set forth in the
                 MSLA. Customer will provide VMware at least thirty (30) days prior notice to respond to the security questionnaire. VMware
                                                                                                                        Agreement and must
                 not be shared with any third parties.




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                     j.     VMware shall ensure that its personnel and approved sub-contractors will agree in writing and comply with similar rules
                            materially not less than those set forth in this Section on Cybersecurity and that Customer shall always be able to enforce
                            all rights set forth herein.

                     k.     Breaches of the security provisions contemplated in this Section or in Annex F that are resulting in a security incident so
                            severe that in case of its reoccurrence, it would trigger holding on to the Agreement to be no longer reasonable, shall be
                            deemed a material breach of the Agreement.

         3.    Third-party Software

               VMware will make available updates for applicable open source software vulnerabilities found to critically impact VMware software,
                                       nalysis. The customer may sign up to receive notifications for security advisories and product release notes
               at https://www.vmware.com/support/policies/security response.html

    6)   Section 6.6 of the MSLA shall be replaced by the following:

                                                             Agreement, regardless of whether such liability arises in contract, tort including negligence,
         misrepresentation, strict liability, or otherwise

                     (i)    shall not exceed per damaging event 2.000.000 EUR, or if the fees paid in the respective order for the individual Software
                            product (e.g. VMware vSphere or VMware NSX) or Support Services giving rise to the claims are higher, then those fees for
                            the individual Software product or Support Services giving rise to the claim; in case of the redemption of HPP Credits for
                            Software products, the fees paid for an individual Software product in the respective order shall be determined by considering
                            all redemptions for that individual Software product from the HPP fund purchased under that order, and
                     (ii)   shall not exceed in the aggregate per Contract Year for all claims arising out of the Master Consulting Services Agreement
                            between VMware and Customer, VMware Contract # 00583877                     and the MSLA together or any individual
                            contracts concluded thereunder from such damaging events during such Contract Year 100% of the cumulative fees paid
                            by Customer to VMware either directly or/and via its Preferred Resellers during such Contract Year under the MSLA and
                            the MSA , but in no event less than 2.000.000
                            period following the Effective Date of this Agreement or following any anniversary of such Effective Date, respectively,
                            provided that for multi-year contracts for which VMware does not invoice on a yearly basis (e.g. ELAs) for purposes of this
                            section the fees shall be calculated on a pro rata basis (fees divided by contract term).

    7)   Section 9.13 of the MSLA shall be replaced by the following:

          Publicity. The use and display of Cust                                                       VMware´s website and in VMware`s marketing
         materials in connection with identifying Customer as a customer of VMware will be regulated by and subject to a separate agreement between
         the parties.

    8)   Unless expressly provided otherwise in this Amendment, the provisions of the MSLA shall remain unchanged.

    9)   The parties acknowledge that the MSLA may contain certain written form requirements and that the change of such form requirements may
         also require the written form. However, the parties agree that - even in light of such stipulation - they want to change this requirement without
         using the written form.
         Therefore, the parties agree that this Amendment and any future notices or amendments to the MSLA may also be executed by electronic
         signature, using a software tool for electronic signatures. Any clauses in the MSLA
         or similar shall be read to include electronic signatures.
         Neither party shall contest the enforceability of this Amendment or any future amendments on the basis that these were executed by electronic
         signature. Upon request of a party, both parties shall again execute this amendment and any future amendments in the form originally required
         to fulfill the form requirement of the MSLA.

         For notices executed by electronic signature as set forth above, section 9.2 of the MSLA shall not apply. Instead, such notices shall be sent
         per email to the following addresses:

         If to VMware:

                              To:
                              CC:

         If to Siemens:




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                               To:
                               To:

           Either party may change its address for email delivery by notice to the other party, at least also to be sent to the addresses indicated above
           or the then-current addresses as communicated by the other party in line with this section.



     10)     The MSLA                                                                                        Amendment.


     11)      Section 9.7 of the MSLA: The last sentence of Section 9.7 of the MSLA shall hereby be deleted and replaced with the following:
                                                                                                                              e Agreement and those of
     an ELA, Purchase Order or the Product Guide, the following order of precedence shall apply in descending order: Purchase Order, ELA (if any),
     Exhibits, main text of the Agreement, Product Guide, provided however that any product specific terms of the Product Guide, such as license use
     rights, license metrics and license notes, including license use rights and terms dictated by third party code, shall take precedence and govern
     such Software. Definitions used in the Product Guide shall have the meaning given therein, unless otherwise defined in this Agreement. For the
                                                                                                                   The term ELA means: an Enterprise
     License Agreement and any Amendment thereto entered into for a certain amount of time between VMware and Customer, either directly or
     through an authorized VMware channel partner, for the purchase of certain VMware offerings such as Software and corresponding Support
     Services, Service Offerings and Professional Services (including but not limited to PSO Credits and TAMs), as applicable. Such ELA will only
     become effective with VMware receiving a corresponding Purchase Order for said ELA or, in case the ELA provides for purchase without a PO,
     upon signature of the ELA as set forth therein.


     12) The third section of the preamble of the MSLA shall hereby be replaced with the following:
      In consideration of the mutual promises and upon the terms and conditions set forth below, the parties agree that (i) Customer may purchase
    licenses to the Software (as defined below), and purchase the Services (as defined below), directly from VMware or from Custo
    Resellers, under the terms set forth herein, and (ii) Custo
    the Services (as defined below), provided however that the ordering Affiliate (a) has entered into a Participation Agreement as set forth below and
    (b) purchases from C
    which VMware at its own discretion has agreed to a purchase directly from VMware. The parties acknowledge and agree that plac ing a Purchase
                                                                                                                              the template Participation
    Agreement attached hereto as Exhibit C. If and to the extent, a Customer Affiliate purchases licenses or services under such Participation
    Agreement, the respective Customer Affiliate will be regarded as Customer with respect to this Purchase Order under such Participation Agreement;
    in no event shall Siemens AG be subject of any claims under any purchase of a Customer Affiliate.
    Exhibit C of the MSLA shall hereby be replaced with Annex H
    13) Section 2.2 Use of Licenses by Affiliates shall hereby be amended to read as follows:
      Solely for licenses purchased by Siemens AG (not its Affiliates) and except for unlimited licenses of Software the following shall apply: Customer
    may allow its Affiliates (as defined herein) to Deploy and use the Software, and related Technical Support and Subscription Services, as if it were
                                   reement. For the avoidance of doubt, the number of licenses specified in the Purchase Order is the total number of
    licenses for the Software which the Customer is entitled to use. Customer shall ensure compliance with the terms of this Agreement with regards to
    such licenses by each such Affiliate, and any breach by an Affiliate shall be deemed a breach by Customer. The parties shall be free to restrict the
    Deployment and use of the Licenses and related Technical Support and Subscription Services by an Affiliate in an ELA.




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     Terms and Conditions stated below in this Annex A shall apply. The limitation of users does not apply, and
     length of service will correspond with Success 360 contract dates.

     *****Cannot surpass VMware Success 360 contract term and requires a minimum VMware Success 360
                                                                             Extended Support offering.




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                    VMware Technical
                                              (For On-Premise Software Products)

            VMware, Inc., a Delaware corporation, or VMware International Unlimited Company, a company organized under the
 laws of Ireland, as applicable (         ), will provide Technical Support and Subscription and VMware Success 360 Services
 (the                as s                                                       Terms to the customer identified in an Order
   Customer                            Terms and the Data Processing Addendum (which is incorporated into these SnS Terms by
 this reference) and as set forth at the VMware Support Services Website, at http://www.vmware.com/support/services.html,
 provided that the provisions at the VMware Support Services Website shall not lead to a degradation of the Services provided to
 Customer as described in these SnS Terms. Customer acknowledges and agrees that VMware may update these SnS Terms at
                                                                          www.vmware.com/support, provided however, that with
 regard to Software made publicly available by VMware on the Effective Date of the Agreement, VMware may not degrade the
 Services provided to Customer compared to the SnS Terms effective on the Effective Date of the Agreement. The VMware entity,
 effective date, Software, and Services level will be set forth on the applicable enterprise license agreement, SnS order form,
                                                                             -incident basis, in the registration form completed by
 Customer upon such purchase (each, an              ). Any terms used but not defined in these SnS Terms have the meanings set
 forth in the MSLA.

 1.        Definitions. For the purposes of these SnS Terms, the following definitions apply:
 1.1         Content                                                                                               t does not
            include customer account or relationship data that VMware uses in connection with a Technical Support request, or
            data collected by VMware to verify the support entitlement or to facilitate any communications.
 1.2        Data Processing Addendum               he VMware Data Processing Addendum attached as Annex B to the MSLA
            Amendment which is incorporated into and forms part of these SnS Terms.
 1.3                        means any reports, analyses, scripts templates, code, or other work results to be delivered by VMware
            to Customer under these SnS Terms. For the avoidance of doubt, the term code shall not include any code Customer
            receives as part of the Subscription Services (as defined below); the licenses to the Subscription Services are subject
            to the MSLA and the VMware Product Guide as set forth in section 2.1 below.
 1.4        Error
                             Documentation
 1.5         Modified Code
            product code tree(s)/modules developed by VMware for production deployment or use. Modified Code excludes
            customizable Software options for which VMware offers Services.
 1.6        Services Fees
 1.7         Services Period
            periods and commences: (a) for Software Licenses for which Services are mandatory, on the date the applicable
            Software License Key(s) are made available for download, and (b) for Software Licenses for which Services are optional,
            on the date of purchase of the Services.
 1.8        Severity                he relative impact an Error has on the use of the Software, as defined in good faith by
            VMware, and assigned by Customer when opening a Support request. The following Severity levels apply to all
            Software:
          (a)          Severity One                        production server or other mission critical system(s) are down and no
                                                                                                                        ant risk of
 loss or corruption; (ii) Customer has had a subst
 disrupted.

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            (b)           Severity Two
 a restricted fashion, although long-term productivity might be adversely affected; or (ii) a major milestone is at risk; or (iii) ongoing
 and incremental installations are affected; or (iv) only a temporary workaround is available.
           (c)       Severity Three                        -critical loss of functionality of the software such that: (i) the operation
 of some component(s) is impaired but allows the user to continue using the Software; or (ii) initial installation milestones are at
 minimal risk.
           (d)           Severity Four                                                                  uding errors in the Documentation.
 1.9         Software shall have the meaning set forth in the Agreement, however, for purposes of these Services Terms, the term
                                                                                                                         creates
            specifically for Customer..
 1.10       Subscription Services          any provision of Maintenance Releases, Minor Releases and Major Releases to the
            Software and related Documentation that VMware provides to Customer.
            (a)         Maintenance Release          Update         s a generally available release of the Software that typically
 provides maintenance corrections only or high severity bug fixes, designated by VMware by means of a change in the digit to t he
 right of the second decimal point (e.g. Software 5.0 >> Software 5.0.1), or for certain Software, by means of a change in the digit
 of the Update number (e.g. Software 5.0 Update 1).
           (b)           Minor Release                                                                                  number of
 new features, functionality and minor enhancements; (ii) fixes for high severity and high priority bugs identified in the current
 release, and (iii) is designated by VMware by means of a change in the digit to the right of the decimal point (e.g., Softwar e
 5.0>>Software 5.1).
           (c)         Major Release,                        Upgrade,
 contains functional enhancements and extensions, (ii) fixes for high severity and high priority bugs, and (iii) is designated by
 VMware by means of a change in the digit to the left of the first decimal point (e.g., Software 5.0 >> Software 6.0).
 1.11        Technical Support                                  -
            contact(s) regarding installation of the Software, Errors and technical product problems, at the corresponding Services
            level purchased by Customer.
 1.12        Third Party Products
            either: (i) not delivered with the Software; or (ii) not incorporated into the Software.

 2.        Service Terms.
 2.1        Provision of Services. VMware will provide Services to the Customer during the Services Period, at the Services level
            purchased. Customer                         Service release will be subject to the MSLA, provided that in deviation to
            section 1.14 of the MSLA                                       means the VMware Product Guide posted at
            https://www.vmware.com/download/eula on the date Customer first installs that release. For clarification, section 9.7
            Order of Precedence of the MSLA shall apply.
 2.2        End of Availability. VMware may, at its discretion, decide to retire Software and/or Services offering from time to time
             End of Availability
            and the timeline for discontinuing the affected Services at https://www.vmware.com/support/policies/lifecycle.html.
            VMware has no obligation to provide Services for any Software after the End of Availability data published in the life
            cycle policy for that Software, provided that VMware will at no time discontinue Support Services within less than 12
            months from notice publication on its website. The previous sentence shall not apply to SaaS based Software which
            shall be supported as described in the applicable ELA.
 2.3        Purchase Requirements.



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           (a)         Except as otherwise provided for by VMware, Customer may purchase initial Services only for the most
 current, generally available release of the Software.
            (b)         Customer must purchase and/or renew Services at the same Services level for all of the licenses for a
 particular Software product installed in a given environment, such as Test, Development, QA, or Production (i.e. Customer cannot
 purchase Production level support for only one license of vSphere in its lab and purchase Basic level support for the other vSphere
 licenses in that environment). For the avoidance of doubt, such obligations pertain only to the respective business unit which acts
 as a Customer, e.g. if a business unit                sectors purchases Services for certain Software Licenses, only such business
 unit is required to purchase and/or renew such Services at the same Services level in a given functional discipline. Any other
 business units in the same sector or any other sector of Customer are not affected. Additionally, for avoidance of doubt, business
 units can access only the Services associated (or corresponding) to licenses within their business unit.
             (c)             Except as otherwise provided in the applicable price list, the minimum term for any Service offering is one
 (1) year.
 2.4          Exclusions.
             (a)        Services under these SnS Terms do not cover issues or failures in a VMware Cloud Service or problems
             caused by the following:
                      (i)           unusual external physical factors such as inclement weather conditions that cause electrical or
             electromagnetic stress or a failure of electric power, air conditioning or humidity control; neglect; misuse; operation of the
                                                                                                          causes other than ordinary use;
                    (ii)               use of the Software that deviates from any operating procedures as specified in the
             Documentation;
                       (iii)           Third Party Products, other than the interface of the Software with the Third Party Products;
                       (iv)            Modified Code;
                       (v)             left blank;
                       (vi)            any customized deliverables created by VMware, VMware partners or third-party service
             providers;
                        (vii)      use of the Software with unsupported tools (i.e., Java Development Kit (JDK); Java Runtime
             Environment (JRE)), APIs, interfaces or data formats other than those included with the Software and supported as set
             forth in the Documentation. Customer may request assistance from VMware for such problems, for an additional fee.
           (b)          If VMware suspects that a reported problem may be related to Modified Code, VMware shall inform Customer
 about its suspicion, and may, in its sole discretion,
                       (i)             request that the Modified Code be removed, and/or
                       (ii)          inform Customer that additional assistance may be obtained by Customer from various product
                          discussion forums or by engaging VMwa
 If Customer decides not to remove the Modified Code despite such request, VMware is relieved of its obligation to provide Services
 in regard to the reported problem. If the removal reveals that the Modified Code is in fact the cause for the reported problem,
 VMware is relieved of its obligation to provide Services in regard to such problem and may inform Customer that additional
                                                                              or an additional fee.
 2.5           Customer Responsibilities.
          (a)          Customer agrees to receive from VMware communications via e-mail, telephone, and other formats,
 regarding Services (such as communications concerning support coverage, Errors or other technical issues, availability of new
 releases of the Software, and training options).


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          (b)
          (c)          As between VMware and Customer, Customer is solely responsible for the use of the Software by its
 personnel and shall properly train its personnel in the use of the Software.
            (d)         Customer shall report to VMware all problems with the Software without undue delay, and must implement
 all corrective procedures provided by VMware reasonably promptly after receipt of the corrective procedures.
           (e)       Customer must protect and backup the data and information stored on the systems on which the Software
 is used in accordance with any applicable Customer or regulatory requirements before granting access to production systems to
 VMware or before implementing instructions or patches by VMware.
          (f)          Customer will have dedicated resources available to work 24X7 on Severity One Errors.

 3.        Services Offerings and Fees.
 3.1        Services Fees.
          (a)         Services Fees are payable on the effective date specified in the applicable Order or, in the case of a renewal
 Service Period, no later than the date of commencement of the renewal term, and due in accordance with Section 4.4 of the
 Agreement. Services Fees are specified in the applicable price list and are non-refundable, except as expressly set forth in these
 Terms and Conditions or the Agreement.
           (b)         If Customer renews or adds a Services offering that has a minimum term of one (1) year, Customer may
 elect to make Services for all of its Software Licenses coterminous with the renewed or added Services. In that case, VMware will
 prorate the applicable Services Fees to extend the current Services Period to make it coterminous with such renewed or added
 Services.
           (c)        For Software that is licensed on a perpetual basis, if a Customer purchases Services after acquiring the
 Licenses, or had elected not to renew Services and later wishes to re-enroll in the Services, Customer must move to the then-
 current Major Release of the Software and must pay: (i) the applicable Services Fees for the current Services Period; (ii) the
 amount of Services Fees that would have been paid for the period of time that Customer had not enrolled in the Services, and (iii)
 a ten-percent (10%) reinstatement fee on the sum of the Services Fees in (i) and (ii).
          (d)         If Customer purchases a License to upgrade from one edition of the Software to another (e.g., VMware
 vSphere Standard to VMware vSphere Enterprise Plus), any unused period of the Services Period on the original License will be
 converted and used to extend the Services Period for the new License. This paragraph (d) shall not apply to customers who have
 purchased Services through an enterprise license agreement.
 3.2        Advanced and Complimentary Services Offerings.
           (a)       Certain Services (e.g., Business Critical Support, Mission Critical Support and Mission Critical Support for
 Workspace ONE) require that Customer also purchase a base level of support. See the Services description at
 https://www.vmware.com/support/services.html.
           (b)         VMware may at its discretion offer complimentary Services, including VMware Complimentary Update
 Services for certain Software, as more fully described at the VMware Technical Support Services website at
 https://www.vmware.com/support/services/complimentary.html. VMware Complimentary Update Services
 provision of Maintenance Releases and Minor Releases to Customer. This VMware Complimentary Update Service does not
 include providing any Major Releases.
 3.3         Authorized Technical Contacts. The number of authorized technical contacts to which Customer is entitled is limited
                                                                                                                               ntext
 of such limitations (e.g. 6 contacts per contract) is not meant to refer to the MSLA but to the individual contract under which the
 individual respective Services have been originally obtained. For clarification, an ELA and an ELA Amendment shall constitute two




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 separate contracts for the purposes of this section. The contact information of authorized technical contacts must be provided on
 an individual basis (i.e., each technical contact) and must not be a group alias.
 3.4         License to Deliverables. If Deliverables are included in the Services, VMware grants Customer a non-exclusive, non-
 transferrable, irrevocable (except in case of breach of the SnS Terms) perpetual license, without the right to sublicense, to use and


 4.        Payment, Warranty, Limitation of Liability, and Termination
 4.1        Payment Terms. As set out in section 4.4 of the MSLA
 4.2        Quality of Support Services and Remedies in case of non-conformance. The Services are provided within the
            framework of a contract for services (dienstvertragliche Leistung). VMware shall perform the Services in a workmanlike
            manner and in accordance with industry standards. Upon Customer providing VMware with a reasonably detailed written
            notice to cure within thirty (30) days of occurrence of the non-conformance, VMware will re-perform the Services to
            achieve commercially reasonable conformance with the above quality statement. If, after reasonable efforts, VMware
            is not able to correct such non-conformance for reasons for which VMware is responsible, then Customer has the right
            to terminate for breach in accordance with Section 4.4. Customer is entitled to terminate for breach also without setting
            a curing period if VMware has seriously and definitely refused to cure a non-conformance. Subject to Section 4.3 below,
            thi                                                                                                                      -

            of the MSLA shall not be limited by the provisions in this Section 4.2..
 4.3        Limitation of Liability. As set out in section 6 of the MSLA
 4.4        Termination. As set out in sections 8.2, 8.3, 8.4 and 8.5 of the MSLA

 5.        Customer Support Data
 5.1        Submission of Content. In connection with a Technical Support request, Customer may upload Content to
            systems. That Content will vary depending on the product and the context of the Technical Support issue. Content may
            consist of: (a) detailed system information about the failure such as the name and state of the affected operating system,
            logs, Virtual Machine descriptions (not including the contents of virtual disks or snapshot files), system identifiers, IP
            addresses, and user identifiers; and (b) core dumps, which may contain a full record of the memory image at the time
            of the crash including CPU and memory information related to the failure, passwords, cryptographic keys, and/or
            application data, depending upon the technical state at the time of the failure. Customer is responsible for taking steps
            necessary to protect any sensitive or confidential information, or Personal Data, included in Content. Those steps may
            include Customer obfuscating or removing such information or, depending on the product, otherwise working with
            VMware at the time of submission to limit the disclosure of such information, which VMware will process in case of
            Personal Data in line with section 5.3 below, and in case of such other information in line with section 9.14 (Confidential
            Information) of the MSLA, respectively.
 5.2        Restricted Content. Customer must not submit any Content to VMware that: (a) Customer does not have the right to
            provide to VMware; (b) constitutes information that is regulated by the Health Insurance Portability and Accountability
                                                                                              HIPAA or any similar federal, state,
            or local laws, rules, or regulations, unless Customer has signed a Business Associate Agreement (as defined by HIPAA)
            with VMware; (c) contains financial information of any individual; or (d) is regulated by law or regulation without
            complying with the applicable laws or regulations. If Customer submits any Content in contravention of this Section 5.2,
            then Customer is solely responsible for the consequences of that submission.
 5.3        Personal Data. To the extent Customer provides Personal Data (as defined in the Data Processing Addendum) to
            VMware as part of the Content, VMware will process the Personal Data in accordance with the Data Processing
            Addendum.



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 5.4   Use of Content. VMware may review and analyze Content if and to the extent such review and analysis is necessary
       to address a Technical Support request. VMware may use the results of that review and analysis (excluding any
       Personal Data, as defined in the Data Processing Addendum, or Confidential Information), in combination with (i) data

       usage data) and (ii) information VMware m
       customers, and to improve VMware products, services, and user experiences.
 5.5   Disclosure of Content. If VMware is required by a subpoena, court order, agency action, or any other legal or regulatory
       requirement, to disclose any Content, VMware will provide Customer with notice and a copy of the demand, as soon as
       practicable (using reasonable efforts to do so within five (5) business days), unless VMware is prohibited from doing so
       pursuant to
       steps to contest and to limit the scope of any required disclosure. Section 9.5 of the DPA shall remain unimpacted.

 6.    Miscellaneous
 6.1   Transfer; Assignment. As set out in section 9.1 of the MSLA
 6.2   Governing Law. As set out in section 9.17 of the MSLA
 6.3   Entire Agreement. These SnS Terms, the Data Processing Addendum, the applicable Order, the MSLA to the extent
       it applies, and the information on the VMware Support Services Website as set out in the preamble of the SnS Terms,
       together constitute the entire agreement of the parties with respect to provision of the Services by VMware to Customer,
       and supersedes all prior written or oral communications, understandings, and agreements. In case of any conflict
       between a provision of the Data Processing Addendum and any privacy-related provision in any other part of this
       Agreement, the respective provision in the Data Processing Addendum shall prevail.
 6.4   Customer Forms. As set out in sections 4.1 and 9.8 of the MSLA
 6.5   Amendment and Waiver. As set out in sections 9.5 and 9.7 of the MSLA
 6.6   Severability. As set out in section 9.6 of the MSLA
 6.7   Language. The English language versions of these SnS Terms, the Technical Support guide found at
       https://www.vmware.com/           files/pdf/support/tech support guide.pdf, and     the     policies       at
       https://www.vmware.com/support/policies/index are the governing versions of such documents and policies; any
       translation into languages other than English is for convenience only.
 6.8   Survival. Any provision of these SnS Terms that, by its nature and context is intended to survive, including provisions
       relation to payment of outstanding fees, confidentiality, warranties, and limitation of liability, will survive termination of
       these SnS Terms. The Data Processing Addendum will continue to be effective to the extent VMware continues to
       process Personal Data after termination of these SnS Terms.
 6.9   Use of Third Parties. VMware may deliver the Services with the assistance of our affiliates or suppliers.




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                                                        ANNEX B




                                 DATA PROCESSING ADDENDUM
                                    DPA
   Customer
 in the course of providing Services and (ii) the Agreement expressly incorporates this DPA by reference. This DPA
 does not apply where VMware is the Controller. All capitalized terms not defined in this DPA will have the meanings
 set forth in the Agreement.

 1.       DEFINITIONS.
 1.1                   means the written or electronic agreement between Customer and VMware for the provision of
 the Services to Customer.
 1.2                   means an entity that determines the purposes and means of the processing of Personal Data.
 1.3                              means all data protection and privacy laws applicable to the processing of Personal
 Data under the Agreement.
 1.4                means Regulation 2016/679 of the European Parliament and of the Council on the protection of
 natural persons with regard to the processing of Personal Data and on the free movement of such data (General Data
 Protection Regulation).
 1.5                       means any information relating to an identified or identifiable natural person contained within


 1.6                                   means a breach of security of the Services leading to the accidental or unlawful
 destruction, loss, alteration, unauthorized disclosure of, or access to Personal Data.
 1.7                    means an entity that processes Personal Data on behalf of a Controller.
 1.8                  means any cloud service offering or customer support services provided by VMware to Customer
 pursuant to the Agreement.
 1.9     "Sub-            means any Processor engaged by VMware or any member of its group of companies that
 processes Personal Data pursuant to the Agreement. Sub-processors may include third parties or any member of


 2.       PROCESSING.
 2.1     Role of the Parties. As between VMware and Customer, VMware will process Personal Data under the
 Agreement only as a Processor acting on behalf of the Customer. Customer may act either as a Controller or as a
 Processor with respect to Personal Data.
 2.2     Customer Processing of Personal Data. Customer will, in its use of the Services, comply with its obligations
 under Data Protection Law in respect of its processing of Personal Data and any processing instructions it issues to
 VMware. Customer shall obtain all necessary data privacy related authorizations, if any, for VMware to process
 Personal Data pursuant to the Agreement.
 2.3      VMware Processing of Personal Data.

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 2.3.1    VMware will comply with Data Protection Law applicable to its provision of the Services, and will process

 complete and final instructions to VMware in relation to the processing of Personal Data. Processing any Personal
 Data outside the scope of the Agreement will require prior written agreement between VMware and Customer by way
 of written amendment to the Agreement, and will include any additional fees that may be payable by Customer to
 VMware for carrying out such instructions. Upon notice in writing, Customer may terminate the Agreement if VMware
                                                                                                    , those given or
 agreed to in the Agreement, to the extent such instructions are necessary to enable Customer to comply with Data
 Protection Laws.
 2.3.2. Without limiting the generality of the foregoing, to the extent the California Consumer Privacy Act of 2018, as
 amended, Cal. Civ. Code § 1798.100 et.seq. CCPA applies to any Personal Data, such Personal Data will be

 such terms are defined under CCPA. VMware will not retain, use or disclose Personal Data for a commercial or any
 other purpose other than for the specific purpose of providing the Services, as further described in the Agreement, or
 as otherwise permitted by the CCPA.
 2.4      Processing of Personal Data Details.
 2.4.1    Subject matter. The subject matter of the processing under the Agreement is the Personal Data.
 2.4.2 Duration. The duration of the processing under the Agreement is determined by Customer and as set forth
 in the Agreement.
 2.4.3 Purpose. The purpose of the processing under the Agreement is the provision of the Services by VMware to
 Customer as specified in the Agreement.
 2.4.4 Nature of the processing. VMware and/or its Sub-processors are providing Services or fulfilling contractual
 obligations to Customer as described in the Agreement. These Services may include the processing of Personal Data
 by VMware and/or its Sub-processors on systems that may contain Personal Data.
 2.4.5 Categories of data subjects. Customer determines the data subjects which may include C
 users, employees, contractors, suppliers, and other third parties.
 2.4.6    Categories of data. Personal Data that Customer submits to the Services.
 3.       SUBPROCESSING.
 3.1      Use of Sub-Processors. VMware engages Sub-processors to provide certain services on its behalf.
 Customer consents to VMware engaging Sub-processors to process Personal Data under the Agreement. VMware will
 be responsible for any acts, errors, or omissions of its Sub-processors t
 obligations under this DPA. A list of Sub-processors that VMware currently engages to provide the Services, to which
 Customer consents, is attached at Schedule 1 and as otherwise set forth in Section 7.2 with respect to Sub-processors


 3.2       Obligations. VMware will enter into an agreement with each Sub-processor that obligates the Sub-processor
 to process the Personal Data in a manner substantially similar to the standards set forth in the DPA, and at a minimum,
 at the level of data protection required by Data Protection Law (to the extent applicable to the services provided by the
 Sub-processor).
 3.3      Notice. VMware will provide a list of Sub-processors that it engages to process Personal Data upon written
 request by Customer or as otherwise made available by VMware on its website.




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 3.4      Changes to Sub-processors. VMware agrees (a) to provide prior notice to Customer of any new
 engagement of a Sub-processor to process Personal Data if the Customer has subscribed to receive notification via
 the mechanisms that VMware provides for the specific Service; and (b) if Customer objects to a new Sub-processor on
 reasonable data prot
 good faith with a view to achieving resolution, e.g. by (i) putting respective contractual terms in place with such Sub-
                                                (ii) finding an alternative Sub-processor, (iii) preventing the transfer of
 Customer Personal Data to such Sub-processor or (iv) using such other reasonably acceptable measures to ensure
 compliance with this Agreement. If VMware is unable or unwilling to do so and VMware permits such Sub-processor
 to process Personal Data under this DPA, the Customer shall be entitled to terminate the Agreement by notice in
                                                                                                      n, provided that such
                                                                                                                          -
 processor. In case of such termination, VMware will refund any Services Fees paid by Customer, pro-rated for the
 remainder of the Services Term.
 4.       SECURITY MEASURES.
 4.1      Security Measures by VMware. VMware will implement and maintain appropriate technical and
 organizational security measures to protect against Personal Data Breaches and to preserve the security and
 confidentiality of Personal Data processed by VMware on behalf of Customer in the provision of the Services (
             ) as described in Schedule 2. In no event will VMware disclose any Personal Data in a massive,
 disproportionate, and indiscriminate manner that goes beyond what is necessary in a democratic society. The Security
 Measures are subject to technical progress and development. VMware may update or modify the Security Measures
 from time to time provided that any updates and modifications do not result in degradation of the overall security of the
 Services purchased by the Customer.
 4.2     Security Measures by Customer. Customer is responsible for using and configuring the Services in a
 manner that enables Customer to comply with Data Protection Laws, including implementing appropriate technical and
 organizational measures.
 4.3      Personnel. VMware restricts its personnel from processing Personal Data without authorization (unless
 required to so by applicable law) and will ensure that any person authorized by VMware to process Personal Data is
 subject to an obligation of confidentiality.
 4.4      Prohibited Data. Customer acknowledges and agrees that the Agreement may prohibit the submission of

 not submit to the Services any Personal Data which is regulated by the United States Health Insurance Portability and
 Accountability Act unless Customer has entered into a business associate agreement with VMware.
 5.       PERSONAL DATA BREACH RESPONSE.
 Upon becoming aware of a Personal Data Breach, VMware will notify Customer without undue delay and will provide
 information relating to the Personal Data Breach as reasonably requested by Customer. VMware will use reasonable
 endeavors to assist Customer in mitigating, where possible, the adverse effects of any Personal Data Breach. As
 information is collected or otherwise becomes available, unless prohibited by law, VMware will provide Customer with
 a description of the Personal Data Breach, the type of Personal Data that was the subject of the Personal Data Breach,
 and other information that Customer may reasonably request concerning the affected Data Subjects.
 6.       AUDIT REPORTS.
 VMware (or third parties engaged by VMware) audits its compliance against ISO 27001 and/or equivalent industry data
 protection and information security standards on a regular basis. Upon Customer's written request, and subject to
 obligations of confidentiality, VMware will make available to Customer a customer facing copy of the most recent


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 relevant audit report         and/or other documentation reasonably required by Customer , so that Customer can
 verify VMware's compliance with this DPA.
 Following Cu

 other questions) from Customer regarding any aspects that are unclear or not adequately addressed within such
 documentations. If VMware has not provided satisfactory answers within sixty (60) days, or if Customer still has
 reasonable and specific grounds to suspect non-compliance after provision of responses, Customer may request for
 an on-site audit which may be exercised under the following conditions:
 a) upon twenty (20) business days' prior notice from Customer, unless shorter notice is required by exigent
 circumstances as a result of a Personal Data Breach;
 b) The specific concerns or gaps triggering for audit request shall determine the scope of the audit;
 c) Any site visits would be conducted as an escorted and/or structured walkthrough;
 d) Such site visit shall occur at a mutually agreeable time not more than once during any given calendar year (unless
 required more often by a supervisory authority under exigent circumstances as a result of a Personal Data Breach);


 f) Any independent third party performing such site visit on behalf of Customer shall execute a nondisclosure agreement


 information;


                                                                                                              ctly relating to
 the Services
 Security Measures, Data Protection Laws and Customer's instructions regarding the protection of Personal Data as
 per the Agreement;
 h) Customer agrees that the designated independent third party or internal auditor may only share information with
 Customer that relates directly to the data protection aspects that affect Customer;
 i) Customer agrees further that it will not disclose to any third party any information ascertained by it in connection with
 any such audit except to the extent required by applicable law or regulation;
 j) Commercially reasonable costs associated with hosting and responding to such audits shall be charged to and are
 payable by Customer in accordance with the Agreement (except in the event where the audit was due to a Personal
 Data Breach caused by VMware);
                                                                                                             the VMware IT
 environment, premises and facilities.
 7.       DATA TRANSFERS AND EXPORTS.
 7.1      Data Transfers. Subject to the conditions set forth in this section 7, VMware may transfer and process
 Personal Data to and in other locations around the world where VMware or its Sub-processors maintain data processing
 operations as necessary to provide the Services as set forth in the Agreement, provided that for any data transfers
 from the EEA or Switzerland, VMware has a data export solution in place as recognized under EU Data Protection
 Laws.
 7.2      Data Transfers from the EEA and Switzerland. The parties acknowledge that VMware has achieved Binding
                   BCR

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 available at https://www.vmware.com/help/privacy/binding-corporate-rules.html
                                                                           http://ec.europa.eu/newsroom/article29/item-
 detail.cfm?item id=613841. VMware will process all European Economic Area (including the UK), or Switzerland
 Personal Data transferred to it for processing under this DPA in accordance with its BCR, including when such Personal
 Data is processed outside of the European Economic Area by VMware, any member of its group of companies, or any
 external Sub-processor appointed by VMware. That notwithstanding VMware Inc. shall enter into EU Model Clauses
 or use any other statutory European Economic Area personal data transfer mechanism recognized under GDPR with
 all external Sub-processors located outside the European Economic Area who process European Economic Area,
 Switzerland, UK, Personal Data in countries that have not been recognized as providing adequate data protection,
 prior to such Sub-processors accessing such Personal Data. When processing Argentina, Brazil and Israel Personal
 Data transferred to it for processing under this DPA, VMware will protect such data in line with the principles of
                                                             -processors, and by applying the same Security Measures
 as for European Economic Area Personal Data transferred to it for processing under this DPA.
 In the event that VMware Inc. has entered or will enter into data transfer agreements with Sub-processors based on
 EU Model Clauses, it does the same for and on behalf of itself, its Affiliates and/or their respective customers.



 Latest from September 27, 2021 for all net new external Subprocessors, and from December 27, 2022 for external
 Subprocessors already engaged by VMware as of Effective Date, all transfers of European Economic Area or
 Switzerland Personal Data by VMware to such external Subprocessors located outside the European Economic Area
 to countries that have not been recognized as providing adequate data protection shall be based on the Standard
                                                                                 ate module, unless VMware relies
 on other statutory European Economic Area personal data transfer mechanism. Upon request VMware will inform the
 Customer whether SCC have been agreed with external Subprocessors already engaged by VMware as of the Effective
 Date.
 If required under applicable law, according to any future binding guidance issued by the European Data Protection
 Board, the parties shall in good faith negotiate and enter into any additional agreements required to implement the
 SCC.
 VMware may replace the SCC by another statutory European Economic Area personal data transfer mechanism. Upon
 request, VMware will identify to Customer the specific European Economic Area personal data transfer mechanism
 used in relation to Subprocessor(s) in scope of the Agreement.


 8.       DELETION OF DATA.
 Following expiration or termination of the Agreement, VMware will delete or return to Customer all Personal Data in
                                                                                or in connection with litigation to retain
 some or all of the Personal Data (in which case VMware will archive the data and implement reasonable measures to
 prevent the Personal Data from any further processing). The terms of this DPA will continue to apply to that retained
 Personal Data,
 VMware shall be considered the Controller for the Personal Data concerned.
 In case of deletion of Personal Data, VMware will confirm such deletion upo
 9.       COOPERATION.



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 9.1       Data Protection Requests. If VMware receives any requests from individuals or applicable data protection
 authorities relating to the processing of Personal Data under the Agreement, including requests from individuals
 seeking to exercise their rights under Data Protection Law, VMware will promptly redirect the request to the Customer.
 VMware will not respond to such communication directly without Customer's prior authorization, unless legally
 compelled to do so. If VMware is required to respond to such a request, VMware will promptly notify Customer and
 provide Customer with a copy of the request, unless legally prohibited from doing so.
 9.2       Customer Requests. VMware will reasonably cooperate with Customer, at Customer's expense, to permit
 Customer to respond to any requests from individuals or applicable data protection authorities relating to the processing
 of Personal Data under the Agreement to the extent that Customer is unable to access the relevant Personal Data in
 their use of the Services.
 9.3      DPIAs and Prior Consultations. To the extent required by Data Protection Law, VMware will, upon
 reasonable notice and at Customer's expense, provide reasonably requested information regarding the Services to
 enable Customer to carry out data protection impact assessments (         ) and/or prior consultations with data
 protection authorities.
 9.4      Legal Disclosure Requests. If VMware receives a legally binding request for the disclosure of Personal Data
 which is subject to this DPA, VMware shall:
          use every reasonable effort to redirect the third party to request Personal Data directly from Customer, if not
          prohibited by applicable law;
          promptly notify Customer, unless prohibited under applicable law; and
                                                             expense, use all lawful efforts to challenge the order for
          disclosure on the basis of any legal deficiencies under the laws of the requesting party or any relevant conflicts
          with the law of the European Union or applicable Member State law. In the event VMware is legally prohibited
          from notifying the Customer, VMware will evaluate the demand for disclosure to determine whether it is legally
          valid and binding, and will challenge the order on the basis of any legal deficiencies under the laws of the
          requesting party or any relevant conflicts with the law of the European Union or applicable Member State law,
          unless VMware reasonably believes the order complies with applicable law. In no event shall VMware disclose
          any Personal Data in a massive, disproportionate manner.
 VMware shall, to the extent legally permitted, provide aggregated annual reports, including information on the number
 of third-party disclosure request complied with by VMware, as requested by Customer.
 10.      GENERAL.
 10.1     Relationship with Agreement. Any claims brought under this DPA will be subject to the terms and conditions
 of the Agreement, including the exclusions and limitations set forth in the Agreement.
 10.2     Conflicts. In the event of any conflict between this DPA and any privacy-related provisions in the Agreement,
 the terms of this DPA will prevail.
 10.3       Modification and Supplementation. VMware may modify the terms of this DPA as provided in the
 Agreement, in circumstances such as (i) if required to do so by a supervisory authority or other government or regulatory
 entity, (ii) if necessary to comply with Data Protection Law, or (iii) to implement or adhere to standard contractual
 clauses, approved codes of conduct or certifications, binding corporate rules, or other compliance mechanisms, which
 may be permitted under Data Protection Law, always provided that any such modification may not (i) degrade the
                                                                                                                    in the

 an Annex or Appendix to this DPA where such terms only apply to the processing of Personal Data under the Data
 Protection Law of specific countries or jurisdictions. VMware will provide notice of such changes to Customer without


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 undue delay. Where Customer, within thirty (30) days of receiving such notice, objects to any modification or
 supplementation pursuant to this Section 10.3, then the parties will discuss such concerns in good faith with a view to
 achieving resolution. If such resolution cannot be achieved because Customer would not be in compliance with Data
 Protection Laws after having entered into the modification or supplementation, Customer may elect to terminate this

 termination, provided that such date may not be more than thirty (30) days after the date of VMwar
 the modification or supplementation pursuant to this Section 10.3. Upon the effective date of the termination, VMware
 will refund any prepaid Services Fees, prorated as of the effective date of the termination.
 Upon request by Customer and notwithstanding C                                     10.4 below, VMware and Customer
 will discuss the DPA in a manner mutually agreed upon by the parties to address the requirements and obligations
 resulting from: (i) the European Court of Justice Decision Case No. C-311/18 as of July 16, 2020; and (ii) related
 guidance published by the European Data Protection Board and competent supervisory authorities. In case and in so
 far as the requirements and obligations result in a legal requirement to change the existing data transfer mechanisms,
 the parties may enter into good faith negotiations to update the Agreement to reflect how the parties can meet such
 changed data protection requirements.
 10.4 Notice of change and termination right.
 VMware confirms that it has no reason to believe that the legislation applicable to it or its Sub-Processors in the
 provision of the Services, including in any country to which Personal Data is transferred either by itself or through a
 Sub-Processor, prevents it from complying with this DPA and that in the event of a change it will promptly notify the
 change to the Customer as soon as it is aware.
 In case Customer determines that changes in the legislation applicable to VMware or its Sub-Processors are likely to
 have a substantial adverse effect on the warranties and obligations provided in this DPA, Customer is entitled to
 suspend the transfer of Personal Data and/or terminate the Agreement and/or effected Service.




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                                Schedule 1 to DPA
                                 Subprocessors




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                                Schedule 2 to DPA
                                Security Measures




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                                                                ANNEX D



                                                                 Preferred Resellers



    1.   SoftwareONE: All duly VMware authorized SoftwareONE group companies, provided the respective SoftwareONE group company

         transaction.

    2.   Insight: All duly VMware authorized Insight group companies, provided the respective Insight group company the order is placed at




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                                     ANNEX E




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                                     Annex F




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 3
 3.1 Cybersecurity Framework




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 3.2 Industry Standards and Certifications




 3.3 Assurance Reports




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 and principles and that protective measures are not deactivated, circumvented or changed in any other way, all such
 measures in consistence with industry best Cybersecurity standards (e.g. ISO27001).
 The business partner shall comply with the herein defined rules and principles in addition to the contractual
 agreement and to bring this document to attention and consistent adherence to its employees and any
 subcontractors who have access to IT systems, applications and networks of Siemens or receive Content.


 The business partner is obliged to adhere to the guidance and regulations of Siemens for the security of IT systems,
 applications, and networks.
 In case business partner employees are fulfilling their contractual obligations remotely (neither on Siemens nor on
 business partner premises), business partner shall ensure that its employees also adhere to bu
 industry best remote working policies in addition to the requirements stipulated in this document and the underlying
 agreement (e.g. via awareness trainings for securely working from home).



 Rules and Principles

 Training of Business Partner Personnel
 To fulfill the contractual obligations, business partner shall only engage personnel educated in industry best
 information security (and secure coding, where applicable) and ensures to upgrade their knowledge on a frequent
 basis (at least once per calendar year).


 policies, standards and guidelines and shall attend information security trainings, if requested by Siemens at not
 extra cost to VMware.

 Handling of Content
 Business partner shall adhere to and make use of the communication and collaboration solutions for Information
                                       Secure Communication and Collaboration with Siemens ), if not agreed
 otherwise between the parties. Any form used to conceal, distort, or forge the identity or the meaning of Content
 by the business partner is prohibited.


 Protection of Content
 Regardless of the form in which it appears, or the information medium employed, all Content must be protected in
 accordance with its level of classification of confidentiality, integrity, and availability.
 For Content owned by Siemens there are three prot

 transmission, retention and storage as well as disposal/destruction/deletion shall comply with measures that are
 more stringent as the need for protection increases.
 The business partner defines the level of confidentiality of the Content it creates in consultation with its respective
 contact at Siemens. The business partner is obliged to comply with the protection measures defined by Siemens for
 the Content entrusted.
 Content shall only be stored and processed on IT systems, applications and file storage systems that guarantee an
 adequate protection of the information, i.e. Content with pr
                                                                          -to-end.




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 The business partner shall neither produce copies or reproductions of Content, nor delete, examinate, or modify
 such Content without the prior consent of Siemens or unless contractually agreed otherwise between the parties.



 Transmission of e-mails
 Secure e-mailing pertains to e-
 contractors, IT systems, applications, and Siemens.
 E-mails, which must guarantee the integrity and the level of confidentiality of the Content and the identification of
 the sender, including but not limited to:

                   e-mails with commercial or legal impact
                   e-mails which require user interaction
                   e-mails which are related to critical security services
                   e-mails which contain potential malicious content (e.g. URLs, attachments),
 shall be, in adherence to industry best standards (e.g. NIST SP800-177R1, TN-1945 or BSI ISi-Mail-Server), digitally
 signed and transmitted in encrypted form end-to-
                        ng the S/MIME standard http://www.siemens.com/digital_id_en;                         Secure
 Communication and Collaboration with Siemens ).
 The automatic forwarding of incoming e-mail to external mailboxes, e-mail spamming, misuse of Siemens e-mail
 addresses (e.g. adding e-mails to mailing lists without explicit consent) is prohibited as well as the transmission of
 confidential or strictly confidential Content via fax.



 Deletion of Content
 The business partner shall delete reliably all Content from all its information media which is not or not any more of
 relevance for the provision of the contractually agreed tasks or activities, except retention is contractually agreed or
 required according to applicable laws and regulations.
 Content stored in electronic or paper format shall be deleted, sanitized and disposed depending on its level of

 adherence to industry best standards (e.g. BS EN 15713 protection level 6, NIST SP800-88, DIN 66399-2).



 System Access and Admission Authorizations
 If required and not otherwise agreed between the
 Content solely by Siemens provided access solution depending on the protection level of the respective IT system,


 Bu
 its environment against access from third parties.
 The business partner shall only exercise received system access and admission authorizations (e.g. password or
 access cards) for the fulfillment of its contractually agreed tasks and activities. Such system access and admission

 duti


 subcontractors having access to Content.



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 The admissions, all related technical configuration or cryptographic material shall be kept confidential and shall be
 neither shared with any third party nor made public.
 The business partner shall not circumvent or misuse such access solution and related security mechanisms.



 System and Data Access Protection
 IT systems and information media used by the business partners or provided by Siemens to fulfill their contractual

 environment, via industry best measures.



 IT systems and information media provided by Siemens
 IT systems and information media provided by Siemens are secured and regularly monitored based on Siemens rules
 and regulations and such security measures shall not be circumvented by the business partner (no manipulation or
 bypassing). Business partner shall handle such IT systems and information media with due care, including at a
 minimum the following protection measures:

                   Making use of theft protection for mobile systems.
                   No misuse or unauthorized access when sharing resources.
                   Use of different passwords per user account (anonymous and guest access to be disabled).
                   No elevating of access privileges without Siemens preceding approval.
                   Switching off voice-controlled smart devices or any webcams in the working area not required for
          business purposes (e.g. Amazon Alexa, Apple Siri).

                   Logging off and storing the devices securely if not in use.
                   Paper documents containing confidential or strictly confidential Content shall not be openly
          accessible or left unsupervised. They shall be locked away with appropriate protection mechanisms.



 IT systems and information media owned by business partner
 In addition to section 2.4.1 the following measures are additional minimum protection measures for IT systems
 information media owned by business partner:

          Current Bios version installation and Bios password activation.
          No use of permanent local administration rights.
          Enabling screensaver with password protection of the operating systems (as system lock for unattended IT
          systems).

          Activation of hard disk and file encryption.
          industry best protection against viruses and similar malicious software provided the IT systems or
          information media are subject to such risks. Current and permanently active virus protection must be used
          for PC systems, including an endpoint detection and response agent.

          Securing of network access via password as a minimum to protect against illicit and malicious network
          traffic (e.g. white listing).
          No use of standard passwords. Deletion of initial passwords after receipt and expiry after 24 hours.


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          Passwords shall be created from a combination of uppercase and lowercase characters, numerals, and
          special characters. Passwords shall contain a minimum of 12 characters (26 characters for administrator
          accounts). For PINs arbitrary numerals shall be used. Passwords shall be changed every 180 days (45 days
          for privileged administrative accounts), except the password is part of a two-factor authentication. The last
          10 passwords shall not be reused.
          For access to confidential and strictly confidential Content two-factor authentication is required.
          During access to Siemens IT systems and networks no additional internet connection of the device shall be
          accessible.
          No use of network or system analysis devices without the explicit preceding approval of Siemens.
          Network devices connected to and third-party software used on such devices must be under regular
          support and maintenance and business partner shall ensure to have their current patch level applied.



 Information Obligation, Cybersecurity Contact, Monitoring

 Information obligation
 The business partner shall inform the defined contact persons by Siemens (incl. Cybersecurity contact, contract
 owner) about any operational disruptions, identification of faults and damage factors (e.g. computer viruses,
 program malfunctions) in all IT systems, applications, networks or software used in their collaboration.
 In case the business partner identifies vulnerabilities or security incidents or any suspicion thereof, it will notify
 Siemens immediately, e.g. suspicion of misuse or disclosure of PINs/passwords.



 Cybersecurity contact
 Next to the respective Siemens contact persons, the following Siemens Cybersecurity contact addresses shall be
 immediately informed in case of any:

          security incident:
          security vulnerability:                        potentially or effectively impacting the breach of Content, IT
   systems, applications, networks or information media.



 Monitoring
                                                                   o these rules and principles as described herein. IT
 systems connected to the networks of Siemens are checked for security vulnerabilities according to industry best
 methodology. Identified vulnerabilities must be remediated by the business partner without undue delay. All
 security relevant patches and hotfixes released by third parties in conjunction with the contractual obligations must
 be installed.
 The business partner shall also log and monitor its compliance to the rules and principles set herein in a suitable
 manner, complying with applicable legislation (e.g. retention periods).
 If the business partner disregards the rules and principles contained herein, this may result in disabling its access to
 Siemens sites and IT systems and may lead to the agreed contractual or legal consequences.




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 End of Business Relations
 employee, and unless otherwise agreed or requested by Siemens, the business partner shall conduct the following
 activities and confirm in writing:
                Return of all IT systems, devices, Content, information media, paper documents and work
         equipment (incl. access cards).

                  Return of all granted accesses and declaration of these accesses for the purpose of deactivation or
         deletion (e.g. access to file shares, service accounts, etc.).

                  Deletion of Content on all information media and destruction of paper documents in accordance
         with section
         2.2.3.
                   Deinstallation of any software provided by Siemens for the provision of the contractual fulfillment
         (e.g. virtual client software).




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                                                                          ANNEX H


                                                          AFFILIATE PARTICIPATION AGREEMENT
                                          TO MASTER SOFTWARE LICENSES AND SERVICES AGREEMENT


                                                                        Software Licenses and Services Agreement, is entered into as of ______________
                                                                                              an Irish corporation, having its place of business at Parnell
 House, Barrack Square, Ballincollig, Co. Cork, Ireland
      and [INSERT AFFILIATE NAME]-                                                                                                                    VIL and
 VMware, Inc. hereinafter respecti




 VMware have entered into a Master Software Licenses and Services Agreement, dated November 28, 2012, which together with its Amendments
                                     Software Licenses and
 WHEREAS Affiliate desires to purchase Software and Services (each as defined in the MSLA) under the terms of the MSLA.
 NOW, THEREFORE, in consideration of the premises and obligations contained herein, it is agreed as follows:
 1.   Affiliate and VMware agree to enter into this PA on the same terms as the Master Software Licenses and Services Agreement. The Master Software
      Licenses and Services Agreement is hereby incorporated by reference as if fully set forth herein.
 2.   Unless defined otherwise herein, capitalised terms used in this PA shall have the same meaning as set forth in the Master Software Licenses and
      Services
 3.   Any clause in the Master Software Licenses and Services Agreement referring to the Master Software Licenses and Services Agreement is deemed
      to refer to this PA for purposes of transactions between the Parties. Any reference in the MSLA to Customer or Siemens AG is deemed to refer to
      Affiliate for purposes of transactions between the Parties.
 4.   This PA shall be effective on the PA Effective Date and shall remain valid until the earlier of: (i) the Master Software Licenses and Services
      Agreement is terminated or expired; or (ii) this PA is terminated by either Party in accordance with the termination rules set forth in Section 8. of the
      Master Software Licenses and Services Agreement.
 5.   In case of conflict between this PA and the Master Software Licenses and Services Agreement, the terms and conditions set forth in this PA shall
      supersede and control transactions between the Parties. For the avoidance of doubt, this PA does not alter the terms of the Master Software
      Licenses and Services Agreement. This PA is a separate and distinct agreement by and between Affiliate and VMware.




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 IN WITNESS WHEREOF, the Parties have caused this PA to be signed on the respective dates indicated below.
                  Affiliate


                  By:



                  Print Name:



                  Title:



                  Date:




                  VMware International Unlimited Company                              VMware, Inc.


                  By:                                                                 By:



                  Print Name:                                                         Print Name:



                  Title:                                                              Title:



                  Date:                                                               Date:




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                                                                                 CONFIDENTIAL

                                                                                    October 8, 2024

   VIA EMAIL TO
   matthias.werner@gleisslutz.com; felizitas.casper@gleisslutz.com

   Gleiss Lutz
   Attorneys
   Dr. Matthias Werner and
   Dr. Felizitas Casper
   Karl-Scharnagl-Ring 6
   80539 München



          Re: Siemens AG ./. VMware International Unlimited Company – Your
              Letter dated October 4, 2024

   Dear colleagues Mr. Werner and Ms. Casper,

                  This is to confirm that we are acting on behalf of Broadcom, Inc. and VMware
   International Unlimited Company (together, "Broadcom") in connection with the current
   negotiations between Siemens AG ("Siemens") and Broadcom regarding a one-year renewal
   of certain support services under the Enterprise License Agreement #00557143 of
   September 29, 2021 ("ELA").

                  Our client has taken note of your letter dated October 4, 2024, as well as the fact
   that Siemens has chosen to escalate this matter despite Broadcom's explicit commitment to
   provide Siemens with the extended support services to which it is entitled under the ELA,
   namely the stated out-year renewal ("SOYR") clause provided for under Section II.B of
   Exhibit A of the ELA. However, as Siemens is aware, there is still a discrepancy in the parties'
   understanding of the precise scope of the SOYR. Broadcom would have preferred to reach a
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   mutual understanding on this matter before processing the SOYR. To facilitate further
   discussions and resolve this issue, our client had therefore already granted Siemens a broad
   30-day support extension until October 29, 2024. However, this does not seem to be
   appreciated by Siemens.

                   Broadcom will now proceed with the processing of the SOYR under Section
   II.B of Exhibit A with immediate effect. Broadcom will provide support services to Siemens
   through September 29, 2025 for all licenses identified as "IB Status August 2024" in the "List
   of Covered Offerings" attached as an exhibit to Siemens' letter of September 9, 2025, which is
   referenced in the purchase order dated September 25, 2024 and submitted on September 27,
   2024. Further to this binding commitment, your client will receive a document confirming the
   receipt of the order and a corresponding invoice as soon as practically possible. These will
   have to be created manually, as Siemens' order relates to offerings that are no longer
   commercially available.

                  Kindly note that the extended support services will not cover any "Horizon"
   offerings. As Mr. Armin Mueller stated in his email of September 30, 2024, the "Horizon"
   offerings are no longer part of Broadcom's portfolio and have been divested to Omnissa. Our
   client has been informed by Siemens that they no longer require Broadcom to provide the
   corresponding services and that they will be contacting Omnissa directly.

                 Please be advised that in accordance with Section 9.8 of the Master Software
   License and Services Agreement (VMware Contract #101299) of November 28, 2012
   ("MSLA"), Siemens' "Conditions of Purchase", as referenced in its purchase order dated
   September 25, 2024, do not apply. Instead, the conditions set out in the ELA and MSLA, as
   modified by Amendment No. 1 to the MSLA (VMware Agreement #00583876) of September
   29, 2021, remain in effect.

                   Notwithstanding the full and unconditional provision of support services for all
   licenses identified as "IB Status August 2024" through September 29, 2025 described above,
   Broadcom explicitly reserves the right to seek compensation for the unauthorized overage of
   its software and support services during the term of the ELA and the one-year SOYR period.
   This includes, but is not limited to, any other breaches of contract that may come to light
   following Siemens' report of the total number of software licenses it deployed during the term
   of the ELA by October 29, 2024, or as a result of a potential future audit. Additionally,
   Broadcom reserves the right to claim remuneration at its standard list prices for any support
   services provided to Siemens that fall outside the eligibility criteria for the SOYR. This
   specifically applies to the disputed software licenses referenced in Siemens' purchase order
   dated September 25, 2024, but not listed in Broadcom's SOYR Installed Base overview dated
   September 20, 2024.

                   Furthermore, we wish to clarify that we categorically reject any allegations of
   breach of contract or violation of antitrust rules in connection with the granting of the SOYR
   against our client by Siemens.

                  We trust that Siemens appreciates our client's willingness to provide a practical
   solution despite ongoing divergent opinions regarding Siemens' installed base. Our client looks
   forward to receiving Siemens' report on the total number of software licenses deployed as of




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   the ELA Expiration Period, as along with any explanation as to why Siemens believes certain
   licenses not listed in Broadcom's SOYR Installed Base overview of September 20, 2024, are
   eligible for the SOYR.

                                                   Yours sincerely,



                                                   Dr. Julian Alexander Sanner




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